
96 N.Y.2d 895 (2001)
MAIL BOXES ETC. USA, INC., Respondent,
v.
RUPERT HIGGINS et al., Appellants.
Court of Appeals of the State of New York.
Submitted June 25, 2001.
Decided July 10, 2001.
Appeal taken on behalf of H.T.A., Inc. by Rupert Higgins dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that Rupert Higgins is not the authorized legal representative of H.T.A., Inc. (see, CPLR 321 [a]); appeal taken by Rupert Higgins on his own behalf dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that he is not an aggrieved party within the meaning of CPLR 5511.
